Case 1:25-cv-00748-JKB Document114 Filed 03/26/25 Pagelof1

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND

STATE OF MARYLAND, et al., *
Plaintiffs, n
v. * CIVIL NO. JKB-25-0748

UNITED STATES DEPARTMENT OF .
AGRICULTURE, et al.,

Defendants.
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ORDER
As expressed during the Preliminary Injunction Hearing held on March 26, 2025, the Court
is disinclined to issue a preliminary injunction that is national in scope, unless the law and facts
require it. Accordingly, the parties are ORDERED to provide additional briefing on the following

question by 10:00 a.m. on March 27, 2025:

In the circumstance that the Court rules in favor of the Plaintiff States on the
propriety of preliminary relief, what are the contours of a preliminary injunction
that is not national in scope yet still redresses the alleged irreparable harms to the
Plaintiff States? The parties must address the situation in which (1) a probationary

employee resides in one state but works in another and (2) only one such state is a

party.

DATED this 2 © day of March, 2025.

BY THE COURT:

Lame VA, (2k.

James K. Bredar
United States District Judge

